     Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 1 of 14 PageID #:70




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 GENARO GALINDO,                    )
                                    )
        Plaintiff,                  )                Case No.: 20-cv- 03409
                                    )
        v.                          )
                                    )                First Amended Complaint for violation of
 CITY OF CHICAGO POLICE             )                Civil Rights
 SERGEANT W. CHUDZIK, STAR NO. )
 2273, OFFICERS S. BRANDON, STAR )                   JURY DEMANDED
 NO. 18866, R. GALLAS, STAR NO.     )
 17815, E. ZABLOCKI, STAR NO. 7505, )
 E. ALMANZA STAR NO. 15464, D.      )
 MAGANA, STAR NO. 7098, V.          )
 MITCHELL, STAR NO. 15580, J.       )
 DOLAN, STAR NO. 7722, UNKNOWN )
 AND UNNAMED CITY OF CHICAGO )
 POLICE OFFICERS, and THE CITY OF )
 CHICAGO,                           )
                                    )
        Defendants.

                                FIRST AMENDED COMPLAINT

                                   JURISDICTION AND VENUE

        1.      This action arises under the United States Constitution and the Civil Rights Act of

1871 (42 U.S.C. Section 1983). This court has jurisdiction under and by virtue of 28 U.S.C. Sections

1343 and 1331.

        2.      Venue is founded in this judicial court upon 28 U.S.C. Section 1391 as the acts

complained of arose in this district.

                                               PARTIES

        3.      At all times herein mentioned, Plaintiff GENARO GALINDO (hereinafter

“Plaintiff”), was and is a citizen of the United States and was within the jurisdiction of this court.




                                                    1
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 2 of 14 PageID #:71




       4.      At all times herein mentioned, SERGEANT W. CHUDZIK, was employed by the

City of Chicago Police Department and was acting under color of state law and as the employee,

agent, or representative of the City of Chicago Police Department. Defendant Chudzik has at least

ten (10) misconduct complaints against him. Defendant is being sued in his individual capacity.

       5.      At all times herein mentioned, OFFICER S. BRANDON, was employed by the City

of Chicago Police Department and was acting under color of state law and as the employee, agent,

or representative of the City of Chicago Police Department. Defendant BRANDON has at least

forty (40) misconduct complaints against him. Defendant is being sued in his individual capacity.

       6.      At all times herein mentioned, OFFICER R. GALLAS, was employed by the City

of Chicago Police Department and was acting under color of state law and as the employee, agent,

or representative of the City of Chicago Police Department. Defendant Gallas has at least twenty-

four (24) misconduct complaints against him. Defendant is being sued in his individual capacity.

       7.      At all times herein mentioned, OFFICER E. ZABLOCKI, was employed by the

City of Chicago Police Department and was acting under color of state law and as the employee,

agent, or representative of the City of Chicago Police Department. Defendant ZABLOCKI has at

least twenty-eight (28) misconduct complaints against him. Defendant is being sued in his

individual capacity.

       8.      At all times herein mentioned, OFFICER E. ALMANZA, was employed by the

City of Chicago Police Department and was acting under color of state law and as the employee,

agent, or representative of the City of Chicago Police Department. Defendant ALMANZA has at

least two (2) misconduct complaints against him. Defendant is being sued in his individual

capacity.

       9.      At all times herein mentioned, OFFICER D. MAGANA, was employed by the City

of Chicago Police Department and was acting under color of state law and as the employee, agent,
                                               2
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 3 of 14 PageID #:72




or representative of the City of Chicago Police Department. Defendant MAGANA has at least six

(6) misconduct complaints against him. Defendant is being sued in his individual capacity.

       10.      At all times herein mentioned, OFFICER V. MITCHELL, was employed by the

City of Chicago Police Department and was acting under color of state law and as the employee,

agent, or representative of the City of Chicago Police Department. Defendant MITCHELL has at

least sixty-four (64) misconduct complaints against him. Defendant is being sued in his individual

capacity.

       11.      At all times herein mentioned, OFFICER J. DOLAN, was employed by the City of

Chicago Police Department and was acting under color of state law and as the employee, agent, or

representative of the City of Chicago Police Department. Defendant DOLAN has at least twenty-

nine (29) misconduct complaints against him. Defendant is being sued in his individual capacity.

       12.      Unknown and unnamed officers, collectively with above-named Defendants

(hereinafter “Defendants”), were employed by the City of Chicago Police Department and were

acting under color of state law and as the employee, agent, or representative of the City of Chicago

Police Department. These Defendants are being sued in their individual capacities.

       13.      At all times herein mentioned, the CITY OF CHICAGO was a political division of

the State of Illinois, existing as such under the laws of the State of Illinois. At all relevant times,

the CITY OF CHICAGO maintained, managed, and/or operated the CITY OF CHICAGO Police

Department.

                                   FACTUAL ALLEGATIONS

       14.      On December 30, 2018, Defendant Officers Brandon, Gallas, Zablocki, Almanza,

Magana, Vernon, and Dolan (collectively referred to as “Defendant Officers”) were part of a team in

the gang investigations division of the Chicago Police Department under the supervision of Defendant

Sgt. Chudzik.
                                                  3
     Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 4 of 14 PageID #:73




        15.     On December 30, 2018, Plaintiff was lawfully operating a motor vehicle in the City

of Lansing, County of Cook, Illinois.

        16.     At that date and place, Defendants Mitchell and Dolan caused Plaintiff to stop his

vehicle. There was no legal cause or reasonable suspicion to cause Plaintiff to stop his vehicle and be

detained.

        17.     Defendants Mitchell and Dolan ordered Plaintiff out of his vehicle. There was no legal

cause or reasonable suspicion to order Plaintiff out of his vehicle.

        18.     Plaintiff complied with Defendants Mitchell and Dolan and was immediately seized

by Defendants and subjected to a custodial arrest.

        19.     Defendants Mitchell and Dolan had no legal cause or reasonable suspicion to seize

and/or subject Plaintiff to a custodial arrest.

        20.     On that date Plaintiff had not engaged in any criminal activity.

        21.     Defendants Mitchell and Dolan did not witness Plaintiff commit any criminal act.

        22.     Defendants Mitchell and Dolan detained Plaintiff and brought him back to his lawful

residence, 2559 Indiana Avenue, City of Lansing, County of Cook, Illinois.

        23.     On December 30, 2018, there was six individuals residing at 2559 Indiana Avenue,

City of Lansing, County of Cook, Illinois.

        24.     At that date, time and place, Defendant Officers entered Plaintiff’s residence and

conducted a search of the home.

        25.     Plaintiff is informed and believes that Defendant Officers falsified information to

fraudulently obtain a search warrant authorizing a search of Plaintiff’s home.

        26.     There was no legal or probable cause for the Defendant Officers to enter the residence

or conduct a search of the residence other than the search warrant

        27.     Defendant Officers did not have consent to enter the residence.
                                                     4
     Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 5 of 14 PageID #:74




        28.       Upon executing the search, Defendant Officers falsely claimed to have recovered a

firearm. Defendants further falsely claimed that the firearm was in Plaintiff’s possession.

        29.       Plaintiff did not possess a firearm at his residence on December 30, 2018.

        30.       Defendants Chudzik and Brandon claimed that upon being shown the firearm,

Plaintiff acknowledged ownership.

        31.       Plaintiff at no point on December 30, 2018 told Defendants that the firearm belonged

to him. In fact, Plaintiff told Defendants that the firearm was not his and he had never seen it before.

        32.       Defendant Officers did not record their conduct during the execution of the search

warrant with body worn cameras.

        33.       As a result of Defendant Officers causing Plaintiff to be charged with a criminal

offense, he was subjected to a legal process, criminal prosecution, pretrial detention and a deprivation

of his liberty.

        34.       Defendant Officers knew that the criminal prosecution, pretrial detention and

deprivation of Plaintiff’s liberty was based solely upon Defendants’ false allegations that they found

a firearm at Plaintiff’s residence and that Plaintiff possessed the firearm, and thus Defendants knew

Plaintiff’s prosecution, pretrial detention, and deprivation of Plaintiff’s liberty was not supported by

probable cause.

        35.       On or about February 6, 2019, Plaintiff was indicted for a Class X felony, armed

habitual criminal.

        36.       Plaintiff remained incarcerated for approximately 200 days.

        37.       All criminal charges against Plaintiff were dismissed on July 2, 2019 in Plaintiff’s

favor in a manner indicative of innocence.

        38.       Plaintiff was deprived of his liberty for a substantial length of time, roughly six

months, as a result of the acts of the Defendants.
                                                     5
     Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 6 of 14 PageID #:75




        39.      By reason of the above-described acts and omissions of Defendant Officers, Plaintiff

sustained injuries, including but not limited to, loss special damages, humiliation and indignities, and

suffered great mental and emotional pain and suffering all to his damage in an amount to be

ascertained.

        40.      The aforementioned acts of Defendant Officers were willful, wanton, malicious,

oppressive and done with reckless indifference to and/or callous disregard for Plaintiff's rights and

justify the awarding of exemplary and punitive damages in an amount to be ascertained according to

proof at the time of trial.

        41.      By reason of the above-described acts and omissions of Defendant Officers, Plaintiff

was required to retain an attorney to institute, prosecute and render legal assistance to him in the

within action so that he might vindicate the loss and impairment of his rights. By reason thereof,

Plaintiff requests payment by Defendants of a reasonable sum for attorney’s fees pursuant to 42

U.S.C. Section 1988, the Equal Access to Justice Act or any other provision set by law.

                             COUNT I
PLAINTIFF AGAINST ALL INDIVIDUAL KNOWN AND UNKNOWN DEFENDANTS
             AND OTHERS, FOR UNREASONABLE SEIZURE

        42.      Plaintiff hereby incorporates and realleges paragraphs one (1) through forty-one

(41) hereat as though fully set forth at this place.

        43.      By reason of Defendants’ conduct, Plaintiff was deprived of rights, privileges and

immunities secured to him by the Fourth Amendment of the Constitution of the United States and

laws enacted thereunder.

        44.      The arbitrary intrusion by Defendants, into the security and privacy of Plaintiff’s

person was in violation of Plaintiff’s constitutional rights and not authorized by law. Defendants

violated Plaintiff’s rights in the following manner: the detention, seizure and/or arrest of Plaintiff

was not supported by probable cause.          These acts were in violation of Plaintiff’s Fourth
                                                   6
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 7 of 14 PageID #:76




Amendment rights. Therefore, Defendants, in their individual capacity, are liable to Plaintiff

pursuant to 42 U.S.C. § 1983.

                              COUNT II
  PLAINTIFF AGAINST ALL INDIVIDUAL KNOWN AND UNKOWN DEFENDANTS
AND OTHERS, FOR A CONSPIRACY TO VIOLATE HIS FOURTH AND FOURTEENTH
         AMENDMENT RIGHTS THROUGH UNLAWFUL DETENTION

        45.     Plaintiff hereby incorporates and realleges paragraphs one (1) through forty-one

(41) hereat as though fully set forth at this place.

        46.     Upon information and belief, the individual Defendant Officers and each of them,

as well as the other unknown and unnamed officers of the Chicago Police Department, formed an

agreement to deprive Plaintiff of his search and seizure, due process, and liberty rights by agreeing

to, and in furtherance of that agreement, fraudulently obtaining a search warrant, illegally stopping

and detaining Plaintiff, planting contraband at Plaintiff’s residence, and falsifying police reports

as indicated above.

        47.     By reason of the conduct of Defendants and each of them, Plaintiff was deprived

of rights, privileges and immunities, secured to him by the Fourth Amendment to the Constitution

of the United States and laws enacted thereunder.

        48.     Subsequent to his arrest, Plaintiff was continually detained without probable cause in

violation of his Fourth Amendment Rights.

        49.     Further in violation of the Plaintiff’s Fourth and Fourteenth Amendment rights,

Defendants manufactured, planted, and fabricated evidence and falsified police reports.

        50.     The foregoing was unnecessary and unreasonable and was therefore in violation of

Plaintiff’s Fourth and Fourteenth due process rights. Therefore, the Defendants are liable to

Plaintiff pursuant to 42 U.S.C. § 1983.




                                                   7
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 8 of 14 PageID #:77




                              COUNT III
 PLAINTIFF AGAINST ALL INDIVIDUAL KNOWN AND UNKNOWN DEFENDANTS
    AND OTHERS, FOR VIOLATION OF HIS FOURTH AMENDMENT RIGHTS
                   THROUGH UNLAWFUL DETENTION

        51.     Plaintiff hereby incorporates and realleges paragraphs one (1) through forty-one

(41) hereat as though fully set forth at this place.

        52.     The Defendants and each of them, known and unknown, subjected Plaintiff to

criminal prosecution, a pretrial detention, and/or deprivation of his liberty without probable cause.

        53.     Defendants did not have probable cause to believe Plaintiff had committed an

offense or cause him to be subjected to any pretrial restriction of his liberty.

        54.     Defendants knew that Plaintiff’s arrest, detention, and criminal prosecution were

based solely upon Defendants’ false allegation that they found a firearm at Plaintiff’s residence

and that Plaintiff had possessed the firearm.

        55.     All criminal charges initiated by Defendants against Plaintiff were terminated in

his favor in a manner indicative of innocence on July 2, 2019.

        56.     By reason of the conduct of Defendants and each of them, Plaintiff was deprived

of rights, privileges and immunities, secured to him by the Fourth Amendment to the Constitution

of the United States and laws enacted thereunder.

        57.     The arbitrary intrusion by Defendants, into the security and privacy of Plaintiff’s

person was in violation of Plaintiff’s constitutional rights and not authorized by law. Defendants

violated Plaintiff’s rights in the following manner: causing the Plaintiff to be subjected to pretrial

detention that restrained his liberty without probable cause for the detention and in violation of

Plaintiff’s Fourth Amendment rights. Therefore, Defendants in their individual capacity, are liable

to Plaintiff pursuant to 42 U.S.C. § 1983.




                                                   8
     Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 9 of 14 PageID #:78




                                COUNT IV
       PLAINTIFF AGAINST THE CITY OF CHICAGO FOR MONELL LIABILITY

        58.     Plaintiff incorporates and realleges paragraphs one (1) through fifty-seven (57)

hereat as though fully set forth at this place.

        59.     The misconduct of the Chicago Police Department Sergeant and Police Officers

described above was undertaken pursuant to the practice of the Chicago Police Department in that as

a matter of practice, the Chicago Police Department encourages the very type of misconduct at issue

here by failing to adequately train, supervise, control and/or discipline its officers, such that its failure

to do so manifests deliberate indifference.

        60.     The misconduct of the Defendant Officers was facilitated by the Chicago Police

Department’s deficient policies and procedures relating to obtaining and executing search warrants.

This misconduct included failing to make reasonable efforts to corroborate or properly investigate

information provided by informants, fabricating or concealing material information in order to

obtain warrants, and failing to record the execution of search warrants with body worn cameras in

order to hold officers accountable and deter misconduct during the execution of search warrants.

        61.     As a matter of practice, the Chicago Police Department facilitates the type of

misconduct at issue by failing to adequately punish and discipline prior instances of similar

misconduct, thereby leading Chicago Police Officers to believe their actions will never be scrutinized

and, in that way, directly encouraging future abuses such as those affecting Plaintiff. Specifically,

Chicago Police officers accused of civil rights violations can be confident that neither the Independent

Review Authority, COPA, nor Internal Affairs will reasonably investigate those accusations, and will

refuse to recommend discipline even where the Officer has violated rights of citizens.

        62.     The Chicago Police Department has a widespread “code of silence” wherein police

officers will not report misconduct committed by fellow officers.

                                                     9
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 10 of 14 PageID #:79




       63.     Municipal policy-makers are aware of, and condone and facilitate by their inaction, a

“code of silence” in the Chicago Police Department. For example, on December 8, 2015, Rahm

Emmanuel, Mayor of the City of Chicago, stated publicly that Chicago Police officers maintain this

“code of silence.”

       64.     On December 8, 2015 Mayor Emanuel was asked the following question and gave

the following answer during a television interview on WTTW in Chicago, Illinois:

       Question: I want to ask you point blank, is there a code of silence that exists          among

       Chicago police officers?

       Answer: The short answer is, yes.

       65.     Mayor Lori Lightfoot prior to her 2019 election was Chairperson of the Chicago

Police Accountability Taskforce. In 2016, the Chicago Police Accountability Taskforce

acknowledged the “code of silence” within the Chicago Police Department.

       66.     Several of the individual Defendants in this case have had dozens of citizens’

complaints filed against them without the City of Chicago implementing any discipline against them.

       67.     For example, Defendant Chudzik has at least ten (10) misconduct complaints filed

against him, half of which include allegations that he engaged in an illegal search and/or false arrest.

None of Chudzik’s misconduct complaints relating to illegal search and false arrest have led to any

discipline by the City of Chicago.

       68.     Defendant Brandon has at least forty (40) misconduct complaints against him.

Thirteen (13) of those misconduct complaints include allegations that Brandon engaged in an

illegal search and four (4) misconduct complaints include allegations that he engaged in a false

arrest. Brandon has not been disciplined by the City of Chicago for any of the forty (40)

misconduct complaints against him.

       69.     Defendant Gallas has at least twenty-four (24) misconduct complaints against
                                                  10
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 11 of 14 PageID #:80




him. Eleven (11) of those misconduct complaints include allegations that Gallas engaged in an

illegal search and five (5) misconduct complaints include allegations that he engaged in a false

arrest. Gallas has not been disciplined by the City of Chicago for any of twenty-four (24)

misconduct complaints against him.

        70.     Defendant Zablocki has at least twenty-eight (28) misconduct complaints

against him. Seven (7) of those misconduct complaints include allegations that Zablocki engaged

in an illegal search and two (2) misconduct complaints include allegations that he engaged in a

false arrest. Zablocki has not been disciplined by the City of Chicago for any of the twenty-eight

(28) misconduct complaints against him.

        71.     Defendant Mitchell has at least sixty-four (64) misconduct complaints against

him. Eighteen (18) of those misconduct complaints include allegations that Mitchell engaged in an

illegal search and three (3) misconduct complaints include allegations of false arrest. None of

Mitchell’s misconduct complaints relating to illegal search and false arrest have led to any discipline

by the City of Chicago.

        72.     Defendant Dolan has at least twenty-nine (29) misconduct complaints against him.

Seven (7) of those misconduct complaints include allegations that Dolan engaged in an illegal search

and three (3) misconduct complaints include allegations of false arrest. None of Dolan’s misconduct

complaints relating to illegal search and false arrest have led to any discipline by the City of Chicago.

        73.     Generally, as a matter of widespread practice so prevalent as to comprise

municipal policy, officers of the Chicago Police Department abuse citizens in a manner similar to

that alleged herein on a frequent basis, yet the Chicago Police Department makes findings of

wrongdoing in a disproportionately small number of cases.

        74.     The City of Chicago has failed to act to remedy the patterns of abuse described in



                                                   11
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 12 of 14 PageID #:81




the preceding paragraphs, despite actual knowledge of the same, thereby causing the types of

injuries alleged here.

       75.     In January 2017, The U.S. Department of Justice issued a report based upon an

extensive investigation into the practices of the Chicago Police Department. This report included

the following findings:

               a. The City of Chicago’s accountability systems for Chicago Police Officers

                   contribute a pattern or practice of unconstitutional conduct;

               b. The City of Chicago’s Policies and Practices impede the investigation of Police

                   Officer misconduct;

               c. Investigations into police misconduct are neither fair nor complete;

               d. The City of Chicago and the Chicago Police Department do not take sufficient

                   steps to prevent officers from deliberately concealing misconduct; and

               e. The City of Chicago’s discipline system for Chicago Police Officers lacks

                   integrity and does not effectively deter misconduct.

       76.     As a matter of express policy, the City of Chicago refuses to take into

consideration patterns of allegations of civil rights violations when evaluating the merits of any

particular complaint. In other words, if a police officer is accused of the same kind of misconduct

multiple times IAD, IPRA and/or COPA will not consider those allegations if they are deemed

unsustained.

       77.     Even in instances when the City of Chicago has paid thousands of dollars to settle

claims and/or satisfy judgments that resulted from the misconduct of its officers it refuses to

investigate and/or reinvestigate misconduct by its police officers.

       78.     For example, Defendant Brandon has had at least 11 federal lawsuits filed against him



                                                12
    Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 13 of 14 PageID #:82




for police misconduct. At least eight (8) of the lawsuits against Brandon have resulted in City of

Chicago paying a total of at least $270,000 in settlements or judgments.

       79.     In 2018, the City of Chicago paid more than $113 million to settle Chicago Police

misconduct cases putting the City of Chicago on notice regarding failed policies, practices and

customs.

       80.     Illustrative but non-exhaustive, highly publicized accounts of the Chicago Police

Department utilizing false information to obtain search warrants, fabricating evidence and falsifying

police reports, and/or executing search warrants illegally, have further put the City of Chicago on

notice regarding failed policies, practices and customs. This includes the wrongful convictions

procured by Chicago Police Officer Ronald Watts by framing innocent men and the illegal search

warrants procured by Chicago Police Officer David Salgado and Xavier Elizondo who fabricated

evidence and bribed confidential informants to lie to judges.

       81.     Plaintiffs allege that these customs, policies and practices, described above, were

the moving force behind the violations of the Plaintiffs’ rights. Based upon the principles set forth

in Monell v. New York City Department of Social Services, the City of Chicago is liable for all the

harm done to Plaintiff as set forth above.

       WHEREFORE, the Plaintiff, by and through his attorneys, ED FOX & ASSOCIATES,

requests judgment as follows against the Defendants, and each of them:

       1.      That individual Defendants and each of them and other unnamed and unknown
               Defendants be required to pay Plaintiff’s general damages, including emotional
               distress, in a sum to be ascertained;

       2.      That these same Defendants be required to pay Plaintiff’s special damages;

       3.      That these same Defendants other than the City of Chicago be required to pay
               Plaintiff’s attorneys fees pursuant to Section 1988 of Title 42 of the United States
               Code, the Equal Access to Justice Act or any other applicable provision;



                                                 13
Case: 1:20-cv-03409 Document #: 24 Filed: 08/31/20 Page 14 of 14 PageID #:83




   4.    That the individual Defendants and each of them and other unnamed and unknown
         Defendants other than the City of Chicago be required to pay punitive and exemplary
         damages in a sum to be ascertained;

   5.    That the Defendants be required to pay Plaintiff’s costs of the suit herein incurred; and

   6.    That Plaintiff have such other and further relief as this Court may deem just and
         proper.

                                         BY:     s/ Jaclyn N. Diaz
                                                 ED FOX & ASSOCIATES
                                                 Attorneys for Plaintiff
                                                 300 West Adams
                                                 Suite 330
                                                 Chicago, Illinois 60606
                                                 (312) 345-8877
                                                 jdiaz@efoxlaw.com




             PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

                                         BY:     s/Jaclyn N. Diaz
                                                 ED FOX & ASSOCIATES
                                                 Attorneys for Plaintiff
                                                 300 West Adams
                                                 Suite 330
                                                 Chicago, Illinois 60606
                                                 (312) 345-8877
                                                 jdiaz@efoxlaw.com




                                            14
